EXHlBlT “A”

 

 

 

ClRCUl'I` COURT ()F MARYLANI) FOR PRINCE GEGRGE'S COUNTY

SARAH MAE 'I`II,,LERY
(aka) SARAH MAE SWANN

PLAINTIFF ADDENI)UM!AMENI)MENT

vs. Case No,: CALI 8~29060

U.S. DEPARTM`ENT OF EDUCATION

OI"}"ICE OF lNSPECTOR GENERAL HOTLINE
400 MARYLAND AVENUE, S.W.
WASH!NGTON D.C. 20202»1500

NAVEEN'}" [DENTITY & FORGERY INVESTIGA'IIONS
LOAN
P.O. BOX 3779

WILKES~BARRE, PA §8773'3779

ALL!ED INTERSTATE, LLC, ACCOUNT -
P.o. BOX 361477
COLUMBUS, OH 43236

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Ass§’r RECOVERY SOL\)TIQNS, LLC
2200 E. DEVON AVENUE, sm 200
DES PLA[NES, IL 60013.4501

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NORTH CAROL}NA A&'I` STATE UNIVERSITY
(FINANCIAL AID OFFICE)

1601 E. MARKET STREET

GR£ENSBORO, NC, 2741 l

my

SALLLEMAE

P.o. Box 9500

wILLES-BARRE, PA. 18773*9500
DEFENDANT(S) *

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ADDENDUM
REOUEST FOR RULE 2-101. COMM,ENCEMENT OF ACTION AND PROCESS

On this f(D`{ §ay of`ALH_LQL/ 2018 l, Sarah Mae Tiiiery (aka) Sarah Mae Swann, Plaintiff are
filing the litigation against the above referenced defendants. This request 10 the Circuit Co\m for
Prince George's Coxmty, Maryiand, Seventh Judicial Circuit of Mary!and. 'Ihis request is in the matter
of Fraud as it miates to the Plaintif!’s credit, finances and deformation of charac£er.

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CASE NUMBER: CALI&29060
TILLERY vs. LISTED DEFENDANTS
AUGUST 8, 2018

PAGE 3 OF 3

Aher numerous attempts to discuss and communicate that this was an unauthorized use Of my
signature The defendant continue to report this debt under my name and on my Credit report which has
caused detrimental damages to my health, finances, credit, and mental status As the Plajntiff, I pray
upon the court to addms by way of a hearing and/or trial to hear all of the matters contained in this
reun

ORDERED AND GRANTED for SUMMONS, that the above requests are so ordered;

 

Circuit Conrt Clerk Office Representative for Prince George's County, Maryland

 

Date

 

Circuit Court Judge for Prince George's County, Maryland

 

Date

 

Sarah M. Til|ery (aka) Sarah M. Swann

 

Date

Copiu Mailed to:

Dcpanment of Education

Na\'ient

SallicMae

Alli¢d lnterstnte, LLC

Asset Rccovcxy Solutions, LLC

Sarah Henley (aka) Sarah Spruell

Nonh Caro|ina A&T State University (Financial Aid Department)

Attachmeot(s) (09)

 

 

 

 

 

CASE NUMBER: CAL1&29060
TILLERY vs. LISTED DEFENDANTS
AUGUST 8., 2018

PAGE 2 OF 3

Aiier many years of attempting to resolving this matter in accordance with the guidelines
constructed by the creditors as follows, Department of Education, Navient Asset Recovery Sclutions,
LLC, and Allied lntezstate, LLC. This is a request to commence the process of a hearing and/or trial;
lhcrefoxe. I am filing suit in the amount of $2.5 million dollars liable for damages to my credit for the
years of detrimental financial damages Also l am requesting of the court to have the above creditors
cease credit reporting status of the fraudulent debt named, SallieMae/Navient Account

l, Allied lnterstate, LLC, Account #19424577, and Asset Recovery Solations, LLC, ll)

.Acconnt-

r`\iarviand Ruie 24 iZ:
The above defendants have been served to the above listed address(es).
Marviand Rule 2-114:

As of August 8 2018 the Circuit Clerk Ot`fice is in receipt ofthe submitted documents required
in reference to initiate the commencing of the above for a case number and summons for a court
hearing or trial date

.»\'I"I`ACHMENTS:

Notifieation letters fmm the below:

Department of Education

Navient

ID Theti Ai"tidavit Form

Allied Interstate, LLC

Asset Recovery Solutions, LLC

Saralt Henley (aka) Sarah Spruell

North Carolina A&l` State University (Financial Aid Department)
Sarah Tillery Credit Report (TransUnion & Equifax)

Police Report

Sigrrature Student loan Document viz/unauthorized electronic signature (`Not actual signature)
Fraud Afi`tdavit to Departmen! of Edttcation/Navient

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ClRCUl'I` COURT OF MARYLAND FOR PR}NCE GEORGE'S COUNTY

SARAH MAE l`IL'LERY
(aka) SARAH MAB SWANN
PLAINTIFF

vs CaseNo.: {‘BMX “QCIOQO

U.S, DEPARTMENT OF EDUCATION

OP¥~`ICE OF lNSPECTOR GENERAL HOTLINE ._;.; »g

400 MARYLAND AV§NUE, S.W. :o .'-..; .‘

\VASHINGTON D.C. 20202»1500 "" § "
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NAVlENT IDENTITY & PORGERY INVESTIGATI()NS §`~‘ m

LOAN § j

P.O. BOX 3779 c: ex "

WILKES-BARRE, PA 18773~3779 §§ 3 '»é ""’

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P.o. aox 36147:1
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Assr:r aacovnar soLo'rtoNs, LLC
2200 a osvoN Avrznua sra 200
otis PLA:NES, ir. 600184501

u) _AccoUN'r _

SARAH LANISE HENLEY

(alta) SARAH LANISE SPRUELL

8162 WASHING'I`ON BOULEVAR,D, #439
}ESSUP. MARYLAND 20794

 

NORTH CAROL¥NA A&,T STATE UNIVERSITY
(¥lNANClAL AlD OFPICE)

1601 E. MARKE'I` STREET

GREENSBORO, NC, 2741 l

sALLIIzMAE *

P.o. eox 9500

erLEs-BARRE, PA. 18773»9500
DBFENDANT(s) *

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******************&§*****************

REOUI§ST FOR RULE 2~1()1. COMMENCEMENT OF ACTI()N ANI) PR()CESS

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On this ix QKy of u 018 l, Sarah Mae Tillery (al<a) Sarah Mae Swann, Plaintiff are
filing the litigation against the above referenced defendants. This request to the Circuit Court for
Prince George's County, Maryland, Seventh Judicial Circuit of Maryland` This request is in the matter
of Fraud as it relates to the Plaintift`s credit, finances and deformation of character

 

 

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CASE NUMBER:

TILLERY vs. LISTED DEFENDANTS
AUGUST 8, 20i8

PAGE 2 OF 3

Atier many years of attempting to resolving this matter in accordance with the guidelines
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l`herefore, l am filing suit in the amount of $2.5 million dollars liable for damages to my credit for the
years of detrimental financial damages Also l am requesting of the court to have the above creditors
cease credit reporting status of the fraudulent debt named, SallieMae/Navient Account
l, Allied interstate LLC, Account _ and Asset Recovery Solutions, LLC, li)

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.`\inn‘iand Rule 2~1 121
'Ilie above defendants have been served to the above listed address(es).
.\‘larvland Rule 2~1 141

As of August 8, 20l 8 the Circuit Clerk ()fi"xce is in receipt of the submitted documents required
in reference to initiate the commencing of the above for a case number and summons for a court
bearing or trial date.

A'I'I`ACHMENTS:

Notification letters from the below:

Departrnent of Education

Navicnt

lD ibeft At”l`idavit Form

Allied lnterstate, LLC

Assct Recovery Solutions, LLC

Sarah Henley (aka) Sarah Spruell

North Carolina A&T State University (Financial Aid Department)
Sarah "l`illery Credit Report (TransUnion & Equifax)

Police Report

Signature Student Loan Document w/unauthorized electronic signature (Not actual signature)
Fraud AHidavit to Departrnent of Education/l\lavient

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CASE NUMBER:

TILLERY vs. LISTED DEFENDANTS
AUGUST 8, 2018

PAGE 3 OF 3

Alier numerous attempts to discuss and communicate that this was an unauthorized use of my
signature The defendant continue to report this debt under my name and on my credit report which has
caused detrimental damages to my health, finances, credit, and mental status. As the Plaintifi`, I pray
upon the court to address by way of a hearing and/or trial to hear all of the matters contained in this
request

ORDERED AND GRANTED for SUMMONS, that the above requests are so ordered;

 

Circui¢ Court Clerk Office Representative for Prince George's County, Maryland

 

Date

 

Circui¢ Court Judge for Prince George's County, Maryland

 

Date

 

Sarah M. Tillery (aka) Sarah M. Swann

 

Da¢e

Copies .\iai|ed to:

Dcpartmcnt of Education

Navient

SallieMae

Allied Interstate, LLC

Asset Recovery Solutions, LLC

Sarah Henlcy (aka) Sarah Spruell

Nonh Carolina A&T State University (Financial Aid Department)

Attachment(s) (11)

 

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NAVlZN`l`.

P.O. 801 9640
WMBM PA 1877&9640 l
Navient.oom "

SARAH M SWANN sss
SARAH L SPRUELL cans
5505 LANSING DR

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December t?, 2014 !

Uear SARAH M SWANN?

Recertly, we received a notice from one or mrs consumer reporting agencies indicating that the above loan is not yours
or may be the result of identity theft We have performed an investigation and concluded that tile information we‘ve
provided regarding this ioan to the consumer reporting agencies is vaiid.

if you sti! believe that the loan is not yours or that the toan is a result of identity theft, please call our Fraud Department
at the mn'ber below. Otherwise, you'll continue to be responsible for repayment of the debt and we may continue to
report the ir¢orrnation to the consumer reporting agencies

 

To dismiss this alieng and provide us with additional information for reinvestigation, cali us toll free at 800~891-1391.
We're here to help you Monday - Thursday 8 a.m. to 8 p.m.. and Friday 8 a.m. to 5 p.m., ET.

Sinoerety.
Navient Fraud Department

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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NAV|£NT..

Attn: ldentity Theft/Forgery lnvestigations
PO Box 3779
Wilk%-Barre, PA 18773-3779

Odober 26, 2015

Sarah Swann
SSOS Lansing Dr
Temple Hil|s, MD 20748~4003

Dear Sarah Swann:

Recently, we received an allegation of identity theft from you indicating that a Navient |oan(s) are not yours or may
be the result of identity theft. We have performed an investigation and concluded that the information we have
provided regarding the loan(s) to the consumer reporting agencies is valid.

lfyou still believe that the loan is not yours or that the loan is a result of identity theft, please complete the
enclosed identity Theft Affidavit, sign it and have it notarized. Return it to us along with the required documents,
as indicated in the lnstructions for Completing the identity Theft Affidavit. lf we do not hear from you, we will
continue to consider you responsible for the loan(s) until it’s repaid.

For assistance in obtaining an identity theft report, or to further discuss this allegation and provide us with
additional information for reinvestigation, call us toll free at 800~891-1391. We’re here to help you Monday~
Friday 8 a.m. to 5 p.m. ET.

We have updated your credit report to reflect your disputed loan(s) as follows:
Completed investigation of FCRA dispute - consumer disagrees

This narrative will be reflected on your credit report for each open loan you included in your dispute and will be
included with our next update to the consumer reporting agencies.

lt you wish to have this narrative removed from your credit report, please write to us at P.O. Box 3779, Wi|kes~
Barre, PA_ 18773. Pleaso include umw nsm.. >a,i,...._ .-..\.r ,.¢...,.,.../i...,.\ ..o,.~i.-r(.), and indicate mut you man w
have the dispute narrative removed from your credit report.

Sincerely,

Navient ldentity Theft and Forgery lnvestigations

Endosure

 

 

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borrower and cosigner who signed the
notation illness the language specifitzly
reisstoorlyoncorlheother `You."your'
mo ’yours` mean the lender as listed below
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may be added without notice. to the
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its called °mp'¢talizing." Since interest
accrues on the outstanding principal
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days after its scheduled due date or
deferred due date_ cri fail to pay the first
payment or the last payment within 40
days of its scheduled due date or deferred
due date or (b) il l fail to observe a other
provision of this Note, the breacho which
materially impairs my ability to pay the
amounts due under the Note,

. Disbursement Date - Thc date shown on

the loan check or the date the loan lunds
are electronically transfeer to my school
named in &ction D oi the application
('School").

, lnterim Disclosure - The Truth in Lending

Dlsclosure that will be sent at the time of
my first disbursement and which is hereby
incorporated into this Note.

.Final Disclosure - The Tnith in Lending

Disclosure that will be sent at the time the
repayment schedule ior my loan is
established and which is incorporated into
this Note. ln the event oi any conflict
between the interim Disc|osure and the
Final Disclosure, the Final Disclosure shall
govem.

The terms `lnterest." l'Late Charge,"
` t Relum Fee.“ “Collection Costs."
and “Supplemental Fees" are denned iri the
Note sections so titled. LVariable Rate" is
defined under Section C, lnterest. ot this
Note.

lNTEREST

.lnterest on this Note will accrue at the

Variab|e Ftate (as defined below)l
beginan on the first Dishursement Date,
on the principal balance advanced and
Capitalized lnterest and Other Amounts.
until the principal balance and all accrued
interest are paid in hill

.The Variable Rale will change monthly on

the first day of each month if the Current
index changes The Variable Rate for any
month during the interim Period and ior
the Fiepaymenth Period is the annual rate
equal to the highest U..§ Prime Ralc
published in The Wall Strcet Joumal
Rates" section or any successor
section or table for the purposes of
displaying such rate, on the next to the last
tlew Yorlr business day before the end of
the prior month (the “Current lndex"). plus
or minus the percentage identified on my
interim Disclosure (the “Margin"). rounded
to the nearest onc~eighth of one percent
(0.125%). A New Yorl< business day is
denned as any day that is nor a Saturday.
Sunday. holiday or other day on which
banking institutions in New york are
authorized or ordered to close by law or
executive order. For example the Variable
R_ale for January will be determined _by the
Prime Rate published in Tlre
Wall Street Joumal on the preceding
Dwember 30th il both the 30th and 31st
are New Yorlr business days.

. `lhe Margin is based on my School, credit

history and r:osigner’s credit history. Once
set, the Margin does not change ll lite
Wa/l Street Joi/ma/'s not published on the
dale to be used lor the Current index then
the Current index will be determined by
using the immediately preceding published

Signature Student Loan Promissory Note Document 3XSP0601

U..S Prime Rate lf the Current lndex
ceases to be available you will choose a
comparable substitute

D. TERMS OF HEPAYMENT
t. l am not required to make payments

during the |nterim Period. You will
capitalize unpaid accrued interest at the
beginning of the itepayment Period. li l am
an eligible health student. you will
capitalize unpaid accrued interest annually
during any residency or internship
delerment, at the end ol any residency or
internship deferment period of less than 12
months, and when l enter repayment

2. ¥ou and l agree that the repayment

schedule will be established as iollows:
subject to the terms ot paragraph 4 ot this
SECiiOi"i, priui iu urE Si£rtt`)i the Répayl“liéni
Pertod you wm send me a Final Disclosure
setting forth an initial repayment schedule
whereby l will repay my loan in
consecutive monthly installments ot
principal and interest calculated to equal
the amounts necessary to amortize the
unpaid principal and interest at the Van`able
Rate then in ellect over the entire
Repayment Pen`od. You will also send me
statements showing the amounts and
payment due dates of my monthly
payments

3. Subject to the terms of paragraph 4 oi this
Section, you will revise the repayment
schedule so that l will repay my loan in
consecutive monthly installments of
principal and interest calculated to equal
the amounts necessary to amortize the
unpaid principal and interest al the Variable
Rate then in eflecl over the number of
months remaining in the Hepaymcnt
Period with the payment amount arranging
in the months oi February, May, August
and November, as necessary The
statements that you send me will reflect
any changes in the amounts of my monthly
payments

4.| may choose a graduated repayment
option, ii available ll l convert to this
option, l will notify you iri writing

5. l will make consecutive monthly payments
during the Repaymenl Period in the
amounts and on or before the payment due
dates shown on my statements until l have
paid all oi the principal and interest and any
other lens charges_ and costs | may owe
under this Note,

6.Since interest accrues daily upon the
unpaid principal balance of my loan, if l
make payments after my payment due
dates, l may owe additional principal and
interestl fees and charges at the end of the
Repayrnent Pen`od. ln such case, l shall
pay the additional amounts, and you may.
but are not required lo. lengthen the
Repaymenl Pen'od.

7. Notwithstanding paragraphs 3, 4 and 6 oi
this Section, l agree to pay at least 850 per
month. or the unpaid balance whichever is
less, on all my Signature Student Loans.

8. Payments will be applied first to applicable
fees. then to accrued interest and the
remainder to principal as permitted by
applicable law_ Payments in excess of the

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P.O. BOX 9640

Wilkec-Bene PA 18773~9640

Navient.oom
SARAH M SWANN neal
SARAH L SFRUELL cwa

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August 20 2015

Not)`ce of Loan(s} Status and Potential Actions

D€a’ SARAH M SWANN;

Because of your severe delinquency your Navient student loan has reached a critical point and is headed for default To
avoid elevated collection activities you must make acceptable payment arrangements immediately Call us toll free at
80<)~293~6691 today

Your credit report continues to be impacted. Untess you resolve your account before 09/09/2015, additional collection
options wi& be coo'\si<:leredl which may include:

Cotlection Agency Referral: Your account may be referred to a collection agency While your account is at the agency.
elevated collection activities will take place to recover your obligatory amount owed,

if the collection agency cannot recover a satisfactory amount your account may then be reviewed for possible

Attomey Reterral: Accounts not resolved by a collection agency may be reviewed for possible referral to a collection
attorney licensed to practice law in your stale lt legal action ls filed against you, Navlenl will seek to obtain the maximum

recovery permitted by law»

lt your loan goes into default, you may be required to immediately repay the entire balance of your loan rather
than just the momth payments that you have missed.

We'd prefer to work directly with you to resolve your account ourselves, rather than referring your account to a third
party Navient account managers are available to help you resolve this tooay. Please take this opportunity to call us toll
free 31800293~6691. We‘re here to help you Monday » Friday 8 a.m. to 9 p,m., and Saturday 8 a.m. to 12 p,m., ET.
Sinoerety,

Navient Collection$

This is an attempt to collect a debt and information obtained will be used for that purpose

 

 

 

 

NA\/ENT

P.O. Bo)c 6180
lndianapolis IN 46206~6180
Nav`xem.oom

$ARAH M SWANN 13557

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May 21. 2016 , / ~ l

F'iease call us
Dea¢ SARAH M SWANN:
We recently mcewed an inquiry regarding your account

Because of your account slatus. we ask that you contact us at 866~29?~4403 to discuss any questions or concerns you
may have regarding your account A specialist will work with you further to adequate!y address your concerns

Sinoex'e¥y.
Naviem Customer Service

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P.O. Box 3779

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SARAH M SWANN nov
SARAH L SpRuELL Nzoa

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J`une 6. 2018

SARAH M SWANN, we’ve closed your identity theft claim on your education loan.

Afier wetulty reviewing atl the information provided to us. we have been enable to confirm your ciaim. As a resuit. the
identity then investigation for the toan referenced above has been closeo. You remain responsible for repayment of the
loan according to the terms of the promissory note

What you wm see on your credit report
We wi§ update your credit reporti to reflect your disputed loan with the fotlowing comment

Comp‘o!ad investigation of FCRA direct dispute - consumer disagrees

lf you wish to have this narrative removed from your credit report, call us el 800-891‘1391 or write us at P.O. Box
3779, Wikw'Barre. PA, 18773»37751 P'lease inctude your name, address and account/team number(s). and indicate that
you wish to have the dispute narrative removed from your credit report

Submit!ing additional documents

if you have new or additional information to provide us to aide in the investigation of the identity theft claim_ you can
submit your documents by using one of the following methods (please be sure to write your account number on all
documems):

Onlina: 109 in to your account at-Navieneeem to upload»your documents-‘-» - ~ ~~~-~- -W t
By fax: 57&200~6201
By mail: Navient. Attn; identity Thett/Forgery investigations P.O. Box 3779, Wilkes~Barre, PA 18773»3779

We’re here to help
Please Cali us at 800~891~1391. We’re hereto heip you Monday - Friday, B:OG a.rn. ~ 5:00 p.m., ET.

Sinoerely,

Navieot identity Theft and Forgery investigations

lmponzmt disctosure(s)

tTne Fa'r Creoit Reponmg Act requires lenders and servicers. such as Navient, who report information to the consumer
reporting agencies to do so with accuracy Therelore. we cannot remove accurate information from your credit report

 

 

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Accoum .\'mobcr: 877~72 1-9336
l`ota| Currcnl wm 547~005~58

Saral) M S\r;rm

5505 Lansing D~r
Temple llilk. MO 20748

Wc have been asked to contact you by our client NAV|ENT. regarding your past due account with them Tlteir records indicate that your
payment has not been received or processcd as of the date of this correspondenccl Thcrcl`ori:. the account has been placed with Our Of`fiCC* l`or
collection Wc want you to know that you do have options to resolve this accountl

 

 

l. Our office will allow you to resolve your account for 37035.47 in l payment(s) of$7035.47. Your first payment ls due on August 22
20|8. Wc are not obligated to renew this offer, Upon receipt and clearance of the l paymem(s). the account will be considered satisfied

and closed

2. lfyou m unable to accept lite oll`er(s) above. please contact our ofllce l“or a partial payment plan that you can afford We take pride in
working with all customers. regardless ofyour current financial position

'l'liis communication is from a debt collector. Tliis is an _anempt lo collect a debt.‘Any inl`ontm}ion obtained will be used f`or that pur osc‘
Uijiless you notify zhis office within 30 da ‘s alter receiving this notice that you dispute the \{aladity of the debt or an ' mon tl:ereo , this office
will assume this debt is valid lf you noti this office in writing within 30 days from receiving this notice. that the c tor any portion thereof
ns disputed thi_s office \_vill obtain vg:ri_l`xcation ofthc debt orpbtaiq a copy of`qjud§ment and mail a copy _of such judgment or verification ll`
you rcq)ucst this elliot m vmtmg within 30 davs after receiving this notice, this office will provide you with thc name and address of the

original cmdimr. il'dil'l'crcn\ from current cr\:ditor.

The account balance may periodically incnease due to the addition of accrued interest as provided in your agreement with tlie original creditor
or as otherwise provided by law.

The law limits how long you can be sued on a debt Because of the age ofyour debt. NAVlI£NT will not sue you for ltv

 

 

 

Asset Rccovery Solutions, LLC Contacts ]
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Sa¢ah M Swann Asset Rccovcry Solmions. LLC
5505 l.ansing Dr use 2200 E~ Dev<m Ave Ste 200

Templc Hill$. MD 20748~40{)3 Dcs l’lalnes, lL 6001 8-450l

 

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;RCANORSUNE; m¥OMFlOO (',`l ,ASS!C (04) SARAH T!LLERY- _

038 S€R)OUS DEL!NGUENCY, AND PUBUC RECORD OR COLLECT|ON FiLED

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021 ~ AMOLNT PAST DUE ON ACCOUNTS

FA - ZNOU¥RIES lMPACTED THE CRED|T SCORE

 

 

§)((;I;§E'W" NR. ¢SAAC (VER. 2} SARAH M ULLER‘{ - -

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38 SERK)US D€UNQUENC¥ AND PUBUC RECORD OR COLLECTION FILED

10 - PROPORM OF BALANCE TO HlGH CREDTT ON BANK REVOLV!NG OR ALL REVOLV|NG ACCOUNTS
14 - LENG`|’H OF `HME ACCOUNTS HAVE BEF.N ESTABL!SHED

02 - LEVE`!.. OF DEL|NQUENCY ON ACCOUNTS

08 » TOO WNY iNOUIRIES LAST 12 MONTHS

 

PUBUC RECORDS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Amount: $0 Act|on Type: CHAPTER 7 BANKRUPTCY
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TECHNICAL STME UmvBRsITv

 

NV!S!O.\` OF SUSINESS & FINANCF.
UTRI.ASURZR’S OFF¥CE

December 1¥, 2006

Sarah S ll

Thc above named student plans to enroll at North Caro]ina A&'I` State Univcrsity

for Spring 2007 semester.

Tuition 5 5,718.00
Requircd Pces $ 506.00
Athietics F¢e S 204,00

Studcnt lnsm':mcc $ 229.00

Hous$ng $ 2,376,50
Meal Pan $ 1,102.50
Totai Ba}ancc 510.136*00

The Univcrsity reserves thc right to increase or decrease all fees and charges as
weli as add or delete all expense items without advance notice, As circumstances
in judgment of the administration may requirc.

All payments should be mailed to the NC A&.T State University Atm: 'I`rcasurcr’s
Oche 1601 Ea%t Markct Strcet Grccnsboro, NC 27411.

ff you should have any questions or concerns regarding this student piease don’t
hesitate to cail our office at 336-334~7721 or 336»334-7722.

Thank You

§§ `
crctia Long

Administrativc Assistant
Trcasurcr’s Of`f`xcc

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!601 Eas! Market Succ< ° (}xeensboro. NC 274 ll * (336) 3347721 * Fax (33()) 334‘7208

 

 

 

 

 

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LHXINGTON PARK HD 20653 4400

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Dear SARAH H SWANN, 08/23/06
RE: SARAH L SPRUELL

Loan Progran: SIGNATURE STUDENT LOAN

is have approved the above referenced borrower and loan for which you
are a cosigner. The funds are being sent directly to the school. We are
notifying the borrower of this as well.

A Truth in Lending Disclosure Statement for this loan is enclosed,

lt lists the anticipated dates of future disbuvsements as well as
other important information about the loan. Please keep this document
with your other loan papers for reference.

Tve loan is due to be repaid when the student leaves school, and we will
provide note information as that time approaches. In the meantime, if
you have any questions about this loan or your responsibilities as a
co~borrower, please let us know.

Loan Origlnation Departnent

Enclosure; Truth in Lending Disclosure Statement

 

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|MA»M\~» N!A W*M*M1(30!)248“0347 Alwrw\:l\n‘t€uah.~r (30}) 518`5228

 

 

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PO wl 147023

Signature Education Loan S‘“ Program oa/zz,/oa

SAIABL SNQEU.

Lemctt SALLI£ N\£ BANK ¢AH$) Loan Amount: $ 17,667.00

wm Prognm; 519 STIJBN`I Loan Dalc: 08/25/06
Td¢ lender has approved z SIG ST\)MY ¥o:m to you for $ 17,$87*00. Refer to your promissory note for the det"mjlion of the

Ormx index Trm ban‘x interest ram xx equal to chc Currenl index and a Margin, rounded as provided in your Promissory Note, up
to the maximum me allowed by !aw. Tbe Cuncm Indcx is 8.2502. 'I’he current Mazgin is 6 .500 Z. Yom current lowest race

`n 14.7$0 Z. Wbcn you emer rcpaymcnl, your Margin will be 6,500 Z. You will be charged a Suppicmemal Fee of 3.00 Z at

the bc;mo¢ el xepaymcm.
!! you do not mt the loan, immediame retum thc funds md mix form to your ¥inancial Aid thce.

Tnxth in heading Discfosure

 

 

 

 

 

 

 

ANNUAL PERCENTAGE RA'I`E.' AMOUNT FlNANCED;"
Tb¢ out of your dual 13 3 y¢"¥)‘ nw Tbc amount of credit provided lo
you or on your bcba!f
14.529 Z * 1§.5¢|° 7.'. ' $ 17¢687.{\0
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Varidle Rxxc:
fhc wman P c Raw may increase if\he Cuxrem index increases as described in your Promisxory Note, Any increase

m me race wm ake tdc form of higher regular payments For cxamp}c, assume that your loan is for 510,000 at 8% inwresr
for !30 moolhs. it the mmresx rate increases co 825°/» your monthly paymem amount will increase from 595.57 co $9?.00,

wyman

i.f you wpay ali or pan of this obligau<>n carly, you will not have to pay z pena!ly. You may receive a refund of part of the

.':::Am chu;e, sf required by law.

L.cu: Onrgc:

it my pan of an inn/ailment is mmc ama 15 days hw. you may have to pay a late charge of SS. 00 or S% of the installmem,
wtnchev¢: k grown

Secwity:

you have given a security interest in my refund that may be due 10 !hc student from the schoo|.

?km m your Pronmso:y Note for mformauon zbou\ nonpaymen!, defaul!, the right to accelerate the maxmity of the ob¥igazion_ and
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LOAN AMOUN'!': $ 17, 687. w
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AMCUNT FINANC!L£>: 1 17,667,00

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£stimued Disbursemen! Schedule

 

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1888) 272~55¢!3

 

SARAH L SPRUELL

Accounl Number: ~

 

47078 SORREL DR
LKXINGTOH ?K MD 20653*4400

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Dear SARAH L SPRUELL: 03/30/11

Thank you for the opportunity to service your student loan and invest in
your potential. The paynenn terms for your loan(s) listed below have
changed. Here is your updated payment schedule:

HUHBER OF FAYMEHTS PAYHENT AHOUNT DUE DAT£

71 246.50 06}01/11

1 246.49 05/01/17

1 160.59 02/01/31
Unpaid ?rincipal Balanc¢: $ 20,485.18
*Accrued Interest to Be Capitalized: $ 1,469.71
Outstanding Late Fees: $ 11.27
Estinated Anount of Interest to Be Paid During Repayment: $ 22,807,05
Estinated focal Amonnt co 8c Paid: $ 44,76}.94

* D¢£er»ent= Unpaid interest may be capitalized (added to your
principal balance) at the end of a deferment for unsubsidized Stafford
loans disbursed on or after October 7, 1998, and as often as quarterly
during a deferment period and again at the end of this period for all
other Federal Family Education Loan Program (EEELP) loans.

* Eorbearance: Unpaid interest may be capitalized at the end of a
forbearance for Stafford loans disbursed on or after July 1, 2000, and
as often as quarterly during a forbearance period and again at the end
of this period for all other FEELP loans.

This schedule replaces §11 previous schedules for this loan(s). All of
the turns of your original promissory note(s) still apply,

\vfhy was there a change in ny payment terms?

Usually, payment torts change for one of the following reasonsz

1) the deferment or forbearance period for which you have postponed
making your monthly payments is about to end,

2) you requested a different monthly payment amount,

3) your repayment option has changed,

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llame gram al 1»888-272~5543, y marque el numero corr¢:xp~onci'uzer>u:v

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(888} 272'55¢¢5

 

 

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CHMM()N“EB: f$°l) 853-4520

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for t ben hard bruido\m of fm abov» totals plans see page 2.

Thank you for the opportunity to service your student loan and invest in
your potential.

ray 1 Little How, Save A Lot Later.

is your partner in saving, planning and paying for education, we're
writing to let you know that by making payments now, while you*re otill
in school, you can potentially save thousands of dollars in interest
over the life of your loan. Making small monthly payments now reduces
the amount of capitalized interest and can save you a lot lator,

Start $aving Ioday.
roe choice is yours. You can pay any amount you wish each month_ And,
it’s easy to xake a paylent and start saving money. Here's how:
~ Visit SallieMae.con and log in to your account; GR
- Hrite the amount of interest you wish to pay in the space provided on
the attached payment coupon.

!our Loan netails.

~ Outstanding Interest* $1,517.75
(intorest that has not been paid or added to your loan balance)

~ Last InLerest Capitalization Date 02/09/11
(dato when accrued interest was added to your loan balance)

- Aggregate bast Interost Capitalization Amount $2,703.72

(total anount added to your loan balance on Last Interest
Capitalization Date)

* Outstanding Loan Balance $113,243.71
(total amount you owe, as of this statement)
» Anticipated Repaynent Begin Date: 02/05/09

(expected date when you will legally be required to begin paying back
your loan)

Quest.ions?
Contact us at 888»2~SALLIE (888~272-§$43). We’re here for you
Honday»Thursday 8 a.m. to 9 p.m., and Friday from 8 a.m. to 8 p.m., ET.

 

FHONI'£ (883) 272~5:`>43 FAX 1800)348~1949 'l"l)i)[f`TY (888) 833\7562 24 HR$U DAYS www,$alkicMae.com
Para comunicawe en §spa?x`ol con 'Alcncion al C!ienle', m

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bear sam L sPRub:r,L; 03/30/11

Tbank you for your business with Sallie Mae. ?he payment terms for your
loan(s) starred(*) below have changed. Here is your updated payment

 

schedule:

nunn=T 05 PRYHEH”S ?AYHEHT AHOONT DUE DRTE
119 393‘86 06/01/11

1 394.19 05/01/21

56 341.86 66/01/21

l 340.44 02/01/26

l 28.83 03/01/26

1 28.93 04/01/26

Unpaid Principal Balancez $ 36,832.51
Accrued Interest to Be Capitalized: $ 954.88
Out.st.anding Late Fees; $ 2.48
Total Principal to Be ?aid: $ 37,787.39
Bsti»ated Anount of Interest to Be Paid During Repayment: $ 29,018.50
£stinated Tota} Amount to Be Paid: $ 66,805.89

This schedule replaces all previous schedules for these loan(s) and
does non include any past due amounts, All of the terms of your
original promissory note(s) still apply,

Rote: Due to interest accruing on your unsubsidized loan(s) and being
added (or capitialized) to the outstanding balance, your principal
balance day have increased. This happens when a grace, deferment, or
forbearance period expires.

Why was there a change in ny payment terns?

Usually, paydent terms change for one of the following reasons:

1) the defernent or forbearance period for which you have postponed
making your monthly payments is about to end,

2) you requested a different monthly payment amount,

3) your repayment option has changed,

4) your school separation date was updated to an earlier date than
previously reported,

5) your interest rate has changed, or

l.a. l.t.r.m|n lfyou han questions or romch abou! your accoum, write w ux al the address plovld¢d above
Tbc wm law below are the loans referred to in this kurtz

 

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* 03/23/86 $ 17,687.|0 $ 28,705.57 9.750 SIG STUDN`¥
* ¢S/Z$f“ "¢,286.00 "¢,795.1£ ¢0.750 TUITION*A
~ 09/23/.$ 3,60¢.” 3,531.64 6.125 316 STUBNT
PHONE (888) 272~5543 ~ FAX (800) 848~!9¢9 - TDD/I'i`\' (888) 833~’1562 Sa!lieMac.com
Para comumcarsc en fispar`io¥ con 'M¢nci<`m al Chcnic‘, -

ilame gralis al 1»888-2?2~5543, y muun et numero correspond¢enw.

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VILXE$*BARR£ PA 18773~'95|. (888] 272-55“3

 

SARAH L SPRUELL Accoum Number:-

47078 SORREL DR
L£XINCTON PK MD 20653~4400

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Dear SARAH L SPRUELL: 03/30/11

Thanks for letting us take care of your student loan account and invest
in your potential. The repayment terms on your private student loan(s)
listed below are changing. Thi$ Repayment Statement has the updated
paylent anount(s), due date(s), and other financial information for your
private student loan(s};

BERAXHEHIW§IA§§HEHI
mm or runms umw Anoum" our mrs
1?8 470.47 06/01/11
1 463.43 04/01/26
1 47.89 05/01/26
1 8.6§ 06/01/26

Unpaid Principal Balance: $ 55,796.72
Accrued Interest to Be Capitalized: $ 744.32
Outstanding Late Fees $ 0.00
Outstanding Other Charges: § 0.00
?otal Principal to Be Paid**: $ 56,541.04
Estinated Anount of Interest to Be Paid During Repayment: $ 27,727.63
Esti»ated Total Amount to Be Paid: $ 84,288.67

**This includes any future scheduled disbursements.

   
    

    
    

 

 

  

    

.‘ -.1.. - ~..` , ` .' .*'

l) Your lo n’s grace period or separation period has expired, and the
principal and interest repayment period is about to begin.

2) Your enrollment status has changed.

3) You requested to make interest»only paynents.

4) Your nonthly payment amount has changed from interest only to
principal and interest.

5) The paylent due date for your loan(s) has changed.

6) Tbe defernent or forbearance on your loan is ending soon, and
interest may be capitalized (added to loan principal), depending on

     

* ’.£z

l.'. i.t.r..tion Ifyou have questions or concerns about your amount, write lo ux al me address provided above
Tk¢ wm haled below are the loans Mcrred to in this k\tcr.

 

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P&-ior~'e (m) 272-5$43 » FAx (soo) 843~1949 ~ Too/l‘rY {333)833-1562 saaiiemac,com
Para oomunicarse en E.spais'o! con ‘Atencion al Ciienlc*, _

name gram al l£88~272~5543, y marque 01 numero correspondxcnu:.

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ll:)l£ 062278 3 31 9/20/] §§ Scmmer7

NAVl§N`l'.

Attn: identity Theft/Forgery lnvestigations
PO Box 3779
Wilk&€~Barre. PA 18773-3779

OCtober 26, 2015

Sarah Swann
5505 Lansing Dr
lemple Hills, MD 20748-4003

Dear Sarah Swann:

Recently, we received an allegation of identity theft from you indicating that a Navlent loan(s) are not yours or may
be the result of identity theft. We have performed an investigation and concluded that the information we have

provided regarding the loan(s) to the consumer reporting agencies is valld.

ll you still believe that the loan is not yours or that the loan is a result of identity theft, please complete the
enclosed identity Theft Affidavit, sign it and have it notarized. Return it to us along with the required documents,
as indicated in the lnstructions for Completing the Identity Theft Affidavit. lf we do not hear from you, we will
continue to consider you responsible for the loan(s) until it’s repaid.

For assistance in obtaining an identity theft report, or to further discuss this allegation and provide us with
additional information for reinvestigation, call us toll free at 800~891-1391. We’re here to help you Nlonday-

Friday 8 a.m. to 5 p.m. ET.

we have updated your credit report to reflect your disputed loan(s) as follows:
Completed investigation ofFCRA dispute - consumer disagrees

Thls narrative will be reflected on your credit report for each open loan you included in your dispute and will be
included with our next update to the consumer reporting agencies.

ll you wish to have this narrative removed from your credit report, please write to us at P.O. Box 3779, Wilkes~
Bane, PA, 18773. Please include your name, address, and account/loan number(s), and indicate that you wish to
have the dispute narrative removed from your credit report.

Sincerely,

Navient ldentity Theft and Forgery investigations

Endosure

 

 

 

 

 

ID Theft Affidavit

Victim Information

 

l) 1\»1)'fui| legal name is: SHI&iV/i j/I'/;',¢j;’/ 6:1_'»*/'§}:1’)1’?“ // //E,'£\/
(Fim) (Middz¢) (1,3$1) (.Jr., Sr~, 1115

2) (Ifdi rent from above) When the events described m ihis affidavit took place, l was known as:
\_ U mail §§ aljer 1/`1

(First) (Middie) (I,ast) (Jr., Sr., III)
3) My dale of birth is 021/1 2011/9 Q;.`:§ (Month/Day!\/ear)
\
4) Mv Social Sc~curity number is ___Wg@

5) \ly currch cmail address§)@@@ (Z{LO¢LZ.@ LLO;’, CO}”f/I
6) My cmail address at the time ofthe application 60 idly/l fla £U 556 LL)Cl~/(/iz 6'¢7}”» 7

 

7) Mv dziver`s license c)r identification card state and number are

8) Mv cum:m address 13 5500 U/l$i»\£\ DIZ°» V'i'/
Cily lel¥\f)l~é» }/)L//JS `“/S£ate Zgzé{ Z§pCode QG’YL/f£

f
9) l have lived at this address sincefZ¢Q[;’ ’_'Z, (momh/year)

 

lO) (ifdi¥Tcrenx f_`]rom ab ve) When the events described m this afilda\ it took place my address
“a$ 4 \éwe£géf/ sk 1?%21 l f
Cixy haul z ::wc?\ /{;13£. State ~ ,ZX,.)/{‘ Zip Code 2 §WQS§§

l l) l lived al my previous address from ;_.z[ 2 605 until 172 119 5/2. (month/year)

12) M)' daytime telephone number is (.30[ ) q¢/‘?~//é§ ¢/(};
13) .\1)' evening telephone number is( 55’/ ) £]lC/‘z;"/¢`(/GJ

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by a parry m 1116 debl or applicable law enforcemem agency involved in processing your Q[Hdm)il, inves!iga!ing
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thiefwi/I be prosecured or zhal the debt will be cleared

 

 

 

 

 

 

 

 

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How the identity Theft Occurred

Chcck all that apply for items 13-18:

l4) LAdid not authorize anyone to usc m_\' name or personal information to seek the money. credit. or loans
described in this report.

15) l did not sign any applications. loan notes. credit agreements or loan checks in connection with the
fraudulent loan(s).

l6) l did not receive any benefit or money as a result ofthe events described in this report.

l7) .\1y identification documents (for example, credit cards, birth certificate, driver’s license, Social Security

cards etc,) were:
_\__/stolen ___ lost on or about (day/month/year)

18) To the best of my knowledge and belief. the following person(s) used my information (f`or example, my
name. address, date of birth. existing account numbers Social Security number, mother`s maiden name,
ctc.) or identification documents to get money, credit, or loans without my knowledge or authorization:

Name€¢i /`/ie /l//ae,
Address
Phone Number(s)

 

191 ___ l do NOT know who used my information or identification documents to get money, credit_ Or loans
without my knowledge or authorization

20) Addiiional comments: Please include a description of` the identity theft, which documents or information
was used and how the identity thief gained access to your information (Attach Additional Pages As
.\'eccssar)')

 

 

 

 

 

 

Victim’s Law Enforcement Actions

Aii identity theft report is required in order for us to conduct a timely investigation into vour claim of
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_l)(plcase check one) ,é l am __I am not willing to assist in the prosecution ofthe person(s) who committed
this fraud
22 , . . . . .
)(();l)il\:as;mchccl_~ one') _\[{am __l am not authorizing the release of this information to law enforcement and
parties \\hcre applicable. for the purpose ofassisting them in the investi°ation and/or rose t'
ofthc person(s) who committed this fraud. o p Cu lon

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Documentation Checklist

You must include the following supporting documentation. Attach copies ofitems 22 - 25 to the original
affidavit before sending.

23) ,{a copy ofa valid govcmmcnt-issued photo-identification card (for example, your driver’s license, state~
issued l D card or your passport).

24) a copy ofyour Social Secun`ty Card.

25) la copy ofthe report you filed with a law enforcement agency listed below. o
*The ldentity Theft Report must reference a financial debt with Navient.

name of ' ~w Eiiiorcciiient agency ?}/;’l\"\('l'i S(ZOQ@Q:S &Ulii\_]/ _lDDh C€

Addrcss of l.aw Enforcement Agency

 

Phone number ofLaw Enforcement Agency

 

i\iame of Detcctive Handling Case

 

Email Address of Detective

 

26) Three supplemental signatures examples
"T\\'o signature examples must be before the year ofthe alleged invalid signature
F,xamples ofacceptable documents are:

Driver`s license
Cancel|ed check

Tax forms
Any document bearing your signature before the alleged invalid signature occurred

Rental or lease agreement from the same time frame as the loans in question

()OOOO

27) Notarized Signature and Fraudulent Account Statements (pages 5 and 6).

******* Failure to enclose a copy of an identity theft report will result in us taking no
further action on your claim of Identity Thei`t. "‘"‘***"‘*

 

 

 

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Signature Statement

l certify that, to the best of my knowledge and belief, all the information on and attached to this affidavit is true,
corrch and made in good faith. l also understand that this affidavit or the information it contains may be made
available to federal. state and/or local law enforcement agencies for such action within theirjiirisdiction as they
deem appropriate l understand that knowingly making any false or fraudulent statement or representation to
the government may constitute a violation to 18 U.S.C. §lOOl or other federal, state, or local criminal statutes,

and may result in imposition ofa fine or imprisonment or both.

"‘**You must sign three times, in the presence of the notary***

»' /

(Your ngnature) (Date Signed)

sedima/c 714 »<YWM /v§i,f'€'//bbeie 302¢>1’.?

/(Vour Signature) (Date Signed)

)s)de//Z/ asia/dow- VLA</Z/,," ,/\/0 vein 30', 2@,"/”'

(Your Signature) (Date Signed)

 

 

Notary Section

The indi\ idual isted above personally appeared before me, the subscriber a Notary Public in and for
State of if t:fll /amd. and Count\ of fn~iim/ haw 1 'S Being du|v sworn by
me according to laiv, did dispose and say that the document copy attached hereto and that the purported
signature in (his) (her) name is not (his) (her) handwriting and was not made by (hiin) (her) and was not

done with (his) (her) consent-

Swom to and subscribed before me:

This ?)¢T`H/" day of Né'r`fwb'?"/ , 20 lZ,
(Seal)

`U%L

mmissione pires ll /Ll /J~Ci‘?
'\/Aggi 1\)(§1 (`M

//(Notary Public)

 

 

 

 

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Volunta ry Release Permissions

To assist Navient with researching your claim, you may voluntarily sign the release statements below to
expedite the investigation You may sign either or both statements

1 ‘-.
l
gum/iii l€M , give Navient written permission to release/acquire

(Print Name) 3

information, reports and/or statements to/from the law enforcement agency used to file an identity theft
report

( . l }\\ »i §_ /. l
Sigoawre MHUW_‘;° pate uniform ZO,eD/"’

lndividuals attending schools of higher leaming are given the option to open transaction accounts with financial
institutions and subsequently issued a debit card. These individuals can receive refunds due them immediately.
lf you arc claiming to be a victim ofideniity theft with Department of E,ducation loan(s), your signature will
allow Navient to obtain account information from the financial institution connected to the school.

 

Al l in l
_ /1~» /,/»r/»U . , . . .. .
l. \_J W.' !. 1 i"f'/ , give I\a\'ient written permission to acquire
(Print Name) i

information, reports and/or statements from the financial institution that open an account using my
identit\'.

vi

 

/.. .
Sign:\ture >§Q/fjjzt /(/,/ i_/,{¢»»//c&?/,{ Date ’1\/‘/91 /_gm,}@@}gd 30; ldf/2
' !

Required Notary Section

The irv_livic}';;il .isted above personally appeared before me. the subscriber, a Notary Pub|ic in and for State of
11 Ci- and County of i'NU`- U‘-631’W§"5 Being duly sworn by me according to

law presented a government issued identification form as proofofhis or her identity.

Swom to and subscribed before me:

sm
This 59 day Of NWQ‘"PJQ\/` .20 17 .
(Seal]_

 

' M commission \pires //,j)€i /?t'/'l"'i
fhwa ge

/(T\'otar\ Public)
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»

Account Statement

Piease include as much information regarding the loans you arc inciudirig in your ciaim. You can make as
many copies of this page as you need to include additional ioans.

I dcciare:

f) AS 3 result ofthe event(s) described in the ID 'i`hcft Affidavit, the following student loaii(s) was obtained
without my ionov~'ledgez permission or authorization using my personal in formation or identifying documents:

 

, Loan T' eot`
Accounti\umbcr i\,__~L _,*t ,)P
wu by t.<)zmi$)

'/ 516§@¢?»23»2@@¢ alia/331

Date Disbursed Amount of Loan{s}

 

 

 

 

 

 

 

 

 

 

 

 

21 During the time ofthe accounts described above i had the foilo\\'ing student loan(s) open with your
company

 

Loan Type of

Account?\umb€r Number($) Loan($)

f)ate Disbursed Amt)unt of I,oaii(s)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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5 1 ) v- victim 23 1'- T/A 31 R» REPGRTiNG PERSON
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Alliedlnterstate

LLC
888~253-3108

 

Aprtt 5. 2018

Sarah M Swann

5505 Lan$hg Dr
Tempae Hvs, MD 20148»4003

Re: Odgina¥ Cfedttof“. SALL¥E MAE BANK (AMS)
Creditor. Navient
Amc»unt Owed; $46,067.26
N|'»ed interstate Account No.:

Dear Satah M Swann :

We are a debt canadian company and Navient nas contracted with us to cottect the debt noted above Th§s is an attempt
to collect a dent and any information obtained wm be used for that purpose.

As of the date of this teiter. the Amount Owect is $46,067”26. Bec:ause the creditof continues to assess interest on the
debt me amount due on the day you pay may be greater Hen_ce, if you pay the An_nc)`unt Owed shown above}, an
adjustment may be necessary after we receive our payment m Wnich event we wm mtorm you of any rematning balance.
To make a payment please catt us at 888~263~ 108 between the hours of 8 Arvt. to 10 PM. Mon-Fri ET or mail your
payment to us using the coupon on the :everse side of this tetter`_ Our client processes acme payments etectronicat!y and
your checking account may be debated on the day your payment as received

At this time. our client is wttting to accept payment in the amount of $12_663_84 as full settlement of this debt §nctudtng
any inth assessed between the date oft is tetter and the date of 04/2012018. You can take advantage of this

sensemem offer if we receive payment of this amount or if yQu make another mutuality acceptable payment arrangement
by the date of 04!2012018. We are not obiigated to renew thus offer.

We took toward to assisting you in resolving this matter.

Sincerety.
Attied tntefstate LLC

SEE REVERSE SlDE FOR OTHER iMPORTAN`!` !NFORMATION

 

 

 

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Alliedlnterstate

LLC
888»253~3108

 

Aprl\ 2, 2017

Sareh M Swann
5505 Lansing Dr
Temple Hms. MD 20748~4003

Re: On`ginal Cred`rtor: NAVlENT CREDlT ?lNANCE CORP
Creditor. Nev§ent

,‘-‘¢:~.ovnt G.'.~ed: 542,00240!

A.llied interstate Acc<>unt No.: -

Dea! Sarah M Swann ;

Navient has contracted with Allled interstate LLC, a debt collector_ to collect the debt noted above

Navient is willing to accept payment in the amount of 310,553.20, in exchange for which Navlent will release you from
your oo&`gaoon as a co-slgner or co~bonower on this account(s).,You can take edventage of this offer if we receive your
payment of 510,553.20 on or before 04!30/2017. We ere not obllgeted to renew this offer_ This arrangement does not
relteve the other borrower(s) of their obligations on the account

Plea$e refer to the enclosed Account Listlng for detail regarding your accoonl(s). tf you have any questions regarding this
letter pieese cali us 31888»253*3108 between the hours of 8 AM. to 10 PM. Mon»Frz ET and we will be happy to assist
you,

We are a debt collector attempting to collect a debt end any information obtained will be used for that purpose

Sinoere¥y,
Allied lnforswte LLC

SEE REVERSE SlDE FOR OTHER |MPORTANT lNFORMATlON

 

 

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AccQunl Llstlng

 

Principle lnlerest Colleclion Amoum
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?otais 535,177.33 $6,21248 5612.50 $0.00 83062 $42,002.01

 

 

 

 

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Alliedlnter:s“tate

LLC
888»253-31 08

 

Fet)ruary 19, 2018

Saran M Swann
5505 Lane.\ng Dr
Ternple ltllte_ MD 20?48»4003

Rei Or$ginal Creditori SALL|E MAE BANK (AMS)
Creditoc Navient
.-\..'z*.<,-‘.:ntf)~.¢.~ed: SA?),?»§§._QZ

Alied interstate Account No.: i

Dear Saran M Swenn:

Navient has contracted with Altleol lnterstate LtC, a debt colteotor, to collect the debt noted above

Nevient is wilting to accept payment in the amount of 330,563.20, in exchange for which Navient will retease you from
your obligation as a r:o~$lgner or co-t)orrower on this account(s). You can take advantage of this offer if we receive your
payment of 510,553.20 on or betore 03/18/2018. We are not obligated to renew this otter. Tnts arrangement does not
relieve the other borrower(s) of their obligations on the account

ll’ you have any questzons regarding this letter please call us at 888~253-3108 between the hours of 8 AM. to 10 FM.
Mon-¥ri ET and we will be happy to assist you.

We are a debt coilector attempting to coltect a debt and any information obtained will be used for that purpose

Slnoerety,
Allied interstate LLC

SEE REVERSE SlDf£ FOR OTHER lMPORTANT iNFORMAT!ON

 

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Alliedlnter:s‘tate

LLC
888~253-3108

 

may 4. 2018

Sarah M Swann

5505 Lansang Dr
Tempte.- H'its. MO 20748~4003

Re: Ongtnal Creditoc SALLiE MAE BANK (AMS)
Creditor. Navient
Amount Owed: 346,116`94

Ah\ed interstate Acoount No.: a ' ` "

DeatSarahMSwann:

We are a debt collection company and Navient has contracted with us to ooltect the debt noted above This is an attempt
to cotiect a debt and any information obtained wiil be used for that purposes

As of the date of this letter, the Amount 0wed is $46,116.94. Because the creditor continues to assess interest on the
debt me ai~nount due on the day you pay may be greater. Hence, if you pay the Arno_unt Owed shown above an
adjustment may be necessary after we receive our payment in which event we witt inform mm of an remaining batance.
To make a payment please call us at 888~253- 108 between the hours of 8 AM. to 10 PM. on~Fri T or mail your
payment to us using the coupon on the reverse side of this tetter. Our client processes some payments electronicaiiy and
your checking account may be debited on the day your payment is received

At this ume, our ctient is willing to accept pa ment in the amount of $12.663.84 as full settlement of this debt including
any inteth assessed between the date of is ietter and the date of 05125120i8. You can take advantage of this

settlement offer it we receive payment of this amount or if you make another mutuality acceptable payment arrangement
by the date ot 05125/2018. We ate not obligated to renew this ofter.

We look forward to assisting you in resolving this matter

Sincere}y_
Ailied interstate LLC

SEE REVERSE SlDE FOR OTHER |MPORTANT INFORMA`UON

 

 

 

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1-388~253~3108
?$25 th Campus Roed 3 New A!bany, OH 43054

 

Ixmc 2_3, 2018

Awouot Numbcr.
Loan Bainm>c: 546,669,86

Samh wann

5505 mg Dr

chq)k: Hiils, 20748

RF.: Co~$igner Scnlcmcnt Agreemen£
Dca: Suah Swann

lec read and complete the attached cmsjgner settlement agreement Please sign on the co»signer line and date the
agreemm! with the date you sign it. Return the attached form by fax to 1»866-498-2649.

Ifyou have any questions on the attached agreement form or to make arrangements to pay the agreed upon stipulated sum,
plasc contact our office toll fcc at 1~888-253-3103.

Wc are a debt collector attempting to collect a debt and any information obtained wil¥ be used for that purpose

Sincczc)y,

Brad Pe¢ecs<m

S . |.

Aliicd lummzc LLC
Navicm
!~888~309»4495

A w.» ma mg¢
mm 1~9 734$30~5 733

PlliASE SEE THE REVERSE SIDE FOR IMPORTANI` INFORMATION

 

 

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t

If you how o question or comment, please (i) write us ut P. O. ch 361445 Columbus, OH 43236; (iD email us at: advocacygroup@alliod-
intasnnc.oam; or, (`xii) call ns toll-free at (800) 811-4214 between 9:00 AM Eastem 'I`inie and 6:00 PM Eastem Titnc Monday through Friday.

We a:e required under m and local law co notify consumers of the following rights. This list does not contain a complete list cf the rights
common have under loc\l, state and federal law:

CAQBZBNIA: Thc stale Roscnt.hal Foir cht Collcction Practiccs Act and the federal Fair cht Collcction Practicc Act require that, except under
unusual ciramstmm, collectors may not contact you before 8 a.tn or ahcr 9 p.m. They may not harass you by using threats of violence or arrest
or by wing obscene laugu\gc. Coilcctors may noi usc false or misleading statements or call you at work if they know cr have reason to know that
you my not receive pawl calls ot work. Fcr thc moot port, collectors may not toll another person, other than your attorney cr spouse, aboutyour
debt Colleciors may emma another person to confirm your location cr enforce a judgman For more infom\ation about debt collection activitics,
Ybll my mt the chcn.l Trade Commissioo at BW-FTC»HELP or www.ttc,gov.

QLQBA.QQ: A com\mc: has the right to request in writing that a debt collector or collection agency cease further conuminication with the
conscmcr. A wrinco rcqucu to cease commlmication will not prohibit the debt collector or collection agency from taking any other action
authctiz:cd by law to collect thc debt. FOR lNPORMATlON ABOUT THE COLORADO FAlR DBBT COLLECI`ION PRACTICES ACT, SEE
WWW.G)LORADOA'I'I`ORNEYGENERALGOV!CA}L Allicd lnterstnte LLC can bc reached within Colorado at 7 200 S. Alton Way, Suitc
B 180, Cmnial, OO 80112 and telephone number 303-309-3839.

I_LI__,_.M§: Wc will provide you with the name and addrecs of the original creditor, if different from the current creditor

MADLE: Maine residents may contact our office by telephone bctwccn SAM and SPM E'I`.

MH§S_E[[S: Mzmachuscus rmidcnts may contact our office by telephone at the number and address stated on the front of this letter or at
49 W'mn SL, W¢ymouth, MA 02189 office hours Mcn-Thurs loam-$pm. NOTICB OF TMPORTANT RIGHTS'. YOU HAVB THE RIGHT 'I`O
MAKE A WRJ'ITEN OR ORAL REQUEST 'l`HAT TELEPHONE CALLS REGARDING YOUR DEBT NOT BE MADE TO YOU AT YOUR
PLA@ O{»` EMPLOYMENI'. ANY SUCH ORAL REQUEST WlLL BE VALlD FOR ONLY 'I`EN DAYS UNLESS ¥OU PROVIDE WRITTEN
OONFIRMATION OF THE REQUEST POSTMARK.ED OR DELIVERED WlTHIN SEVEN DAYS OF SUCH REQUES'I`. YOU MAY
TERMU\'ATB THIS REQUEST BY WRlTl'NG 'l`O THB DEB'I` COLLECTOR.

MA: This Ool\cction Agcncy is limcd by the Minnesota Deparlmcnt of Commercc.

N`EWYORK CI'I`Y: Nc\' York City Dcpamncnt ofCoosumer Afi`airs license numbers'. l474-413»DCA, l473l85~DCA, l473]4l-DCA, l473196-
DCA, lmlS6-IX:A, 14668\7~DCA, 147315$~DCA, l473]65-DCA, l473l70-DCA, l473l8|-DCA, l473lBO-DCA, 1473198~DCA, 1473177-
DC.A, lml74~DC)\.

N§EI § §MQLINA: chth Carolinn Dcpa.rtrncnl lnsurancc Pc{rnit NO.: 111896, 917, 4461, 111898, 111897, 3709, 3715, 3683, 3740, 4379,
1061, 3741, 3738.

]M: This collection agency is licensed by thc Collection Service Board of the Tcnnessce Dcpartmcnt of Commcrcc and lnsurr.nce.

__\[MN_: ’I'his collection agency is licensed by thc Divi$ion of Bauking in the Wist>onsin Department of Finoncial lnsl.itutions, www.wdfi.org,

 

 

 

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\@Alliedlnter$tat§

1-888»253-3108
7525 Wcst Clmpus Road D- Ncw Albany. OH 43054

 

5. Upon timely receipt of the Stipulaled Sum. NAVlEN’l` will notify the three major credit agencies that the Co~Signer is no longer
mined with the Notn(s) going forward Any previous delinquency and charge off status will remain NAVlEI\T will not ask the
bureau lo report the Note(s) as "paid/ccnled.‘

6. A.t pit d thc eomiden:irm for this Set!lanent Agreement, Borrower waives any claim Co-Signer may have against NAVIENT and
lot Alb'ed became UJC. Tbo parties to this Sctilemeot Agrecmcnt recognize that any forgichss, and any other consideration1 or
m made puman to this Settlement Agr'ocmcnt, is not an admission by NAVIEN'I` or Allicd lnterstate LLC of any
Wy lot my claims which were or could have been asserted by Co-Signer against NAVIBNT and/or Allicd Inlcrstatc LLC, which
fnbiliy is here by equaer denied.

7. Co$iper cxpre¢sly aged that Co-Signer md Co-Signer‘x agean will not, at anylimc, directly or indirectly, except as expressly
moved in writing by NAVIEN'I`, publicize, divulge or disclose to any person, cntity, or media mpmcntativc, the terms ofthis
Sd$emnx Ag'eemcm, except that CoSigner may disclose this Settlcment Agrecrnent to Co-Signer’s legal advisor and accountant to
de mem necessary no receive profeme edviee, and thai only if such persons are expressly made aware of this confidentiality
ptm'i\.im md agree to be bound hcrcby.

8. Exoep¢ as modified in this Seulcment Ag;eement. the provisiom ofthe Note(s) remain of full force and effect

9. C¢>Siper represents Co-Signcr is oflurfnl age md has had the opportunity to consult legal counse|.

ACC£!`I`IZD AND ACRL£D

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§£l¢¢llliedlnterstat§;

1~888-253-3108
7525 Wect Clm.ptm Road G New Albany, Ol-l 430$4

 

5. Uprn timely receipt of the Stipulated Snm. NAVIENT will notify the three major credit agencies that the Co~Signer is no longer

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mbthow(s)as‘peWmled.'

6. As pat ofthc eomidention for this Settlcment Agreement, Borrower waives any claim Co-Signer may have against NAVIENT and
lorAnied Innermxe LDC, Tbe parties to this Sculcmcnt Agreemcn: recognize that any forgiveness, and any other consideration or
mem mode puran to this Sculement Agtecment, is not an admission by NAVIENT or Allied lntetstate LLC of any
willy for any claims which were or could have been asserted by Co-Signer against NAVIENT and/or Allicd Intcrstatc LLC, which
liabiliy is here by my denied

7. Co&p:z openly agrees that Co~Signer md Co-Signer‘s agents will not, at anytime, directly or indirectly, except as expressly
d:or'med in writing by NAVIBN'I`, publiciz=, divulge or disclose to any pcrson, entity, or media representative the terms of this
Sdieaeut Ag:eemmt. except that Co~Signer may discwe this Settlemcnt Agreement to Co~Signer’s legal advisor and accountant to
te meat memory to receive professional odvice, and ibm only if such persons are expressly made aware of this confidentiality
provisionandayoctobcboundhercby.

8. Emept as modified in mix Settlement A.greement, the provisions ofthe Note(s) remain of full force and effect

9. Wrepreeeou€o~$igpcrisol'hwfnlagcmdhashadtbcoppormnitytoconsultlegal counsel.

ACCUI`BD AND ACRHD

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By: and m 603/2018

 

 

Date Borruwer Date

 

